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14                                UNITED STATES DISTRICT COURT

15                           FOR THE NORTHERN DISTRICT OF CALIFORNIA

16                                     SAN FRANCISCO DIVISION

17    AMERICAN FEDERATION OF                             Case No. 3:25-cv-01780-WHA
18    GOVERNMENT EMPLOYEES, AFL-CIO;
      AMERICAN FEDERATION OF STATE                       DECLARATION OF DANIELLE
19    COUNTY AND MUNICIPAL EMPLOYEES,                    LEONARD IN SUPPORT OF
      AFL-CIO, et al.,                                   PLAINTIFFS’ MOTION TO SHORTEN
20                                                       TIME TO HEAR PLAINTIFFS’ MOTION
               Plaintiffs,                               FOR LEAVE TO AMEND COMPLAINT;
21                                                       LEAVE TO JOIN NEW PLAINTIFFS TO
          v.                                             PRELIMINARY INJUNCTION MOTION;
22
                                                         AND LEAVE TO FILE ADDITIONAL
23    UNITED STATES OFFICE OF PERSONNEL                  DECLARATION EVIDENCE
      MANAGEMENT, et al.,
24
               Defendants.
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 1                              DECLARATION OF DANIELLE LEONARD

 2   I, Danielle Leonard, declare as follows:

 3          1.      I am a member in good standing of the State Bar of California and the bar of this

 4   Court. I represent the Plaintiff organizations in this action. I make this declaration pursuant to Local
 5
     Rule 6-3, in support of Plaintiffs’ Motion to Shorten Time to Hear Plaintiffs’ Motion for Leave to
 6
     Amend Complaint, to Join New Plaintiffs to Preliminary Injunction Motion, and to File Additional
 7
     Declaration Evidence (hereinafter “Motion for Leave”).
 8
            2.      Plaintiffs seek shortened time on the Motion for Leave in light of the preliminary
 9

10   injunction hearing set for March 13, 2025. As the amended complaint Plaintiffs propose to file sets

11   forth in detail, Plaintiffs’ amended complaint, which is being filed less than three weeks from the
12   outset of this case, seeks to add new plaintiffs who join the existing claims, new defendants in the
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     same types of claims and to effectuate the existing requests for relief, and new facts that have
14
     transpired or come to Plaintiffs’ attention subsequent to the last complaint. First, several potential
15
     additional Plaintiffs that have been injured by the OPM mass termination actions challenged would
16

17   like to join this lawsuit. Plaintiffs have also identified as potential additional defendants all federal

18   agencies that received Defendants’ February 14 email directive, which—as Plaintiffs will prove at the

19   March 13, 2025 hearing—are implementing the unlawful policy challenged in this lawsuit. The
20   addition of these parties does not broaden the claims or the scope of relief, which is, as it has been
21
     from the outset, a request to facially invalidate the OPM orders, halt all further terminations, and
22
     reinstate the employees previously fired. Plaintiffs respectfully request that this motion to shorten
23
     time be granted so that the parties can have sufficient time to prepare for the March 13, 2025 hearing.
24

25          3.      At the hearing on Plaintiffs’ TRO Motion on February 27, 2025, I raised the issue of

26   leave to amend the complaint to file a second amended complaint. The Court granted leave to file the
27

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 1   motion for leave, along with setting a hearing on Plaintiffs’ preliminary injunction for March 13,

 2   2025.
 3
             4.     First thing on the morning of Monday, March 3, 2025, I e-mailed counsel for
 4
     Defendants to request a meet and confer conference with respect to Plaintiffs’ motion for leave to file
 5
     an amended complaint, on shortened time, among other issues. I informed Defendants that Plaintiffs
 6
     intended to add new Plaintiffs and Defendants.
 7

 8           5.     On March 3, 2025, Plaintiffs met and conferred with Defendants about a variety of

 9   issues. Plaintiffs asked Defendants to consent to leave to file an amended complaint naming
10   additional federal agencies as defendants and adding new plaintiffs, and to shorten time to allow
11
     resolution of the motion for leave by the end of this week. Defendants did not agree.
12
             6.     On March 4, 2025, at 5:00 PM PT, I again emailed seeking Defendants’ consent to
13
     leave to amend and shortened time for the Court to consider the motion. I explained again Plaintiffs’
14

15   proposed amendments, as well as Plaintiffs’ request to join those new plaintiffs to the preliminary

16   injunction motion and to file additional declaration evidence, and of Plaintiffs’ forthcoming request

17   that the Court rule on Plaintiffs’ motion for leave by this Friday, March 7th, proposing that
18   Defendants file any opposition to Plaintiffs’ motion for leave by Thursday, March 5th. I asked
19
     Defendants to inform us if they had changed their position and would consent. Plaintiffs have not
20
     received a response by the time of this filing.
21
             7.     Plaintiffs will be substantially prejudiced if Plaintiffs’ Motion to shorten time is not
22

23   granted. If briefing proceeds on the ordinary schedule, it will not be resolved before the March 13,

24   2025 hearing and the parties will be unable to adequately prepare for that hearing.

25           8.     No previous modifications of briefing schedules have been ordered or stipulated in
26
     this case.
27

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 1           9.     The time modification sought by this motion would not affect any other deadlines in

 2   this case.
 3
             I declare under penalty of perjury under the laws of the United States that the foregoing is true
 4
     and correct. Executed on March 4, 2025, in San Francisco, California.
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                                                           _______________________
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 8                                                                 Danielle Leonard

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